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IN THE UNITED sTATEs DISTRICT cOURT _
FOR THE wEsTERN DISTRICT oF TENNESSEE 05 JUN 39 PH 32 55
wESTERN DIVISION

UNITED sTATES oF AMERICA, U:_S D¢SM$§ST”§]H
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Plaintiff,
vs. Cr. No. 04~20197-D/V

JOSE MENDOZA,
Defendant.

 

ORDER GRANTING MOTION TO BE PERMITTED TO TRAVEL
AND FOR TEMPOR.ARY RELEASE FROM ELECTRONIC MONITORING

 

THIS CAUSE having come before this Court upon the petition of
defendant JOSE MENDOZA that he be permitted a one-day extension of
time to travel to Westlaco, Texas, visit family members until June
29, 2005, and that he be temporarily released from electronic
monitoring to permit such travel.

The Court having considered the record, finds the petition
well-taken, and GRANTS the motion.

The defendant is permitted a one-day extension of time to
visit with family members in Westlaco, Texas, prior to entry into
the prison system, from June 24, 2005, through June 29, 2005.
During that time, his electronic monitoring shall be temporarily
suspended; but he must advise remain in contact with the pretrial
office by any other means ordered by that office.

IT IS SO ORDERED.

 
 
 

 

Thfs document entered on the dockets
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Honorable Bernice Donald
US DISTRICT COURT

